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                                                    6500 Cherrywood LN                         APR 2 1 2014
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                                                    Greenbelt, MD 20770
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                                                                                      UNITED STATESDISTRICT JUDGE
